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March 5, 2025

The Honorable Judge Theodore D. Chuang
District Judge
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 245
Greenbelt, MD 20770

    Re: Notice of New Facts Subject to Judicial Notice or, in the alternative, Intent to File a
    Motion for Leave to Supplement the Record in J. Does 1-26 v. Musk and DOGE, No.
    TDC-25-0462

Dear Judge Chuang,

Plaintiffs respectfully write to bring to the Court’s attention additional relevant admissions made
last night. Defendants consent to providing these facts to the Court. During his joint address to
Congress, President Donald Trump twice identified Defendant Musk as DOGE’s leader.

        To further combat inflation, we will not only be reducing the cost of energy, but
        will be ending the flagrant waste of taxpayer dollars. And to that end, I have
        created the brand new Department of Government Efficiency. DOGE. Perhaps
        you’ve heard of it. Perhaps. Which is headed by Elon Musk, who is in the gallery
        tonight. . . .

        Under the Trump administration, all of these scams — and there are far worse —
        but I didn’t think it was appropriate to talk about them. They’re so bad. Many
        more have been found out and exposed and swiftly terminated by a group of very
        intelligent, mostly young people headed up by Elon, and we appreciate it. We
        found hundreds of billions of dollars of fraud. . . . 1

Judicial notice is appropriate here because the fact of President Trump’s admissions “is not
subject to reasonable dispute” and is “accurately and readily determined from sources whose
accuracy cannot reasonably be questioned.” Fed. R. Evid. 201. Indeed, President Trump made

1
 Full Transcript of President Trump’s Speech to Congress, N.Y. TIMES (March 4, 2025),
https://www.nytimes.com/2025/03/04/us/politics/transcript-trump-speech-congress.html.


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these remarks before a joint session of Congress and on live television before millions of
Americans; the full transcript is readily available.

We respectfully ask the Court to take judicial notice of these relevant admissions. In the
alternative, we request permission to file a Motion to Supplement the Record.

Respectfully submitted,

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